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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                 Chapter 11

    PRIME CORE TECHNOLOGIES INC., et                       Case No. 23-11161 (JKS)
    al.,1
                                                           Jointly Administered
                                  Debtors.


             NOTICE OF APPEARANCE AND DEMAND FOR SERVICE OF PAPERS

             PLEASE TAKE NOTICE that the law firms of Brown Rudnick LLP and Womble Bond

Dickinson (US) LLP hereby enter their appearances as proposed counsel to the Official Committee

of Unsecured Creditors (the “Committee”) pursuant to Rules 2002, 3017(a), 9007, and 9010(b) of

the Federal Rules of Bankruptcy Procedure and 11 U.S.C. §1109(b), and hereby request that all

notices given or required in these cases, and all documents, and all other papers served in these cases,

be given to and served upon:

                                        BROWN RUDNICK LLP
                                              Robert J. Stark
                                           Bennett S. Silverberg
                                             Kenneth J. Aulet
                                            Jennifer M. Schein
                                              7 Times Square
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                                                       And




1
  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
number are: Prime Core Technologies Inc. (5317); Prime Trust, LLC (6823); Prime IRA, LLC (8436); and Prime
Digital LLC (4528). The Debtors’ service address is 10845 Griffith Peak Dr., #03-153, Las Vegas, NV 89135.
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                                                  And

                             WOMBLE BOND DICKINSON (US) LLP
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        PLEASE TAKE FURTHER NOTICE that pursuant to Section 1109(b) of the Bankruptcy

Code, the foregoing request includes not only the notices and papers referred to in the rule specified

above but also includes, without limitation, orders and notices of any application, motion, petition,

pleading, request, complaint or demand, whether formal or informal, whether written or oral, and

whether transmitted or conveyed by mail, delivery, telephone, electronically or otherwise, which

affects the Debtors or the property of the Debtors.

        PLEASE TAKE FURTHER NOTICE that neither this notice nor any later appearance,

pleading, claim, or suit shall waive any right (1) to have final orders in non-core matters entered only

after de novo review by a district judge, (2) to trial by jury in any proceeding so triable in these cases

or in any case, controversy, or proceeding related to this case, (3) to have the district court withdraw

the reference in any matter subject to mandatory or discretionary withdrawal, or (4) to any other

rights, claims, actions, defenses, setoffs, or recoupments to which the Committee, in any capacity, is
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or may be entitled under agreements, in law or in equity, all of which rights, claims, actions, defenses,

setoffs, and recoupments are expressly reserved.

 Dated: September 7, 2023                            WOMBLE BOND DICKINSON (US) LLP

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                                                     Elazar A. Kosman (DE Bar No. 7077)
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                                                     Proposed Counsel to the Official Committee of
                                                     Unsecured Creditors




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